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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.

1:23-cv-05072-MLB

Vv.

THOMAS WILLIAMSON,

Defendant.

DEFENDANT’S EXHIBITS TO STATEMENT OF UNDISPUTED
MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

EXHIBIT B- Thomas Williamson Deposition Excerpts
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Officer Thomas Williamson October 04, 2024

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GHORGIA
ATLANTA DIVISION
DAVID WARTH,
Plaintife,

vs. CIVIL ACTION FILE
NO.: 1:23-CV-05072-MLB

GWINNETT COUNTY PUBLIC
SCHOOLS, GWINNETT COUNTY
SCHOOL POLICE, THOMAS
WILLIAMSON, Individually
and in his official capacity
as an employee of Gwinnett
County School Police, and
BRITTANY DEWEY, Individually
and in her official capacity
as an employee of Gwinnett
County Public Schools,

Defendants.

REMOTE DEPOSITION OF
OFFICER THOMAS WILLIAMSON

October 4, 2024
1:59 p.m.

(All attendees appeared remotely via
videoconferencing and/or teleconferencing. )

Vivian C. Whitlow, CCR, CVR
#6542-7835-9986-9952

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1 you?
2 A Not at the moment, sir, I don't.
3 Q Okay. If you need to get a copy of it, is

4 it accessible to you?

5 MR. PEREIRA: I may have copies of his

6 report. You're talking about his actual reports?
7 MR. WINFREY: Yes. He doesn't need them

8 right now. You don't need it right now. I'm

9 just saying as we go forward, if you need it, I
10 just want to make sure it's handy that you can
11 get to it.

12 BY MR. WINFREY:

13 Q So tell me about your relationship with

14 David Warth? .

15 A The only relationship I had with David was,
16 again, same thing, you know, in a professional manner.
17 The first time David ever even came on my radar was, I
18 believe, March -- I believe it was 2015 when the --

19 his therapist, Melissa Coates, called the school and
20 notified them of, you know, a threat to harm Ms.

21 Dewey, and, of course, the school notified me. And so
22 that was the first time I've really only heard of

23 David Warth.

24 Q Okay. Do you ever recall your first

25 interaction with Ms. Brittney Dewey?

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1 siblings. And I told her as long as Ms. Dewey wasn't
2 there and I confirmed that she wouldn't be there, that
3 I had no issue with it, because, again, I have no
4 personal animosity toward David. And as long as she
5 wasn't going to be there, I told her I didn't think it
6 would be a problem because he was already attending,
7 you know, school with the TPO in effect. So I had
8 that conversation with the mom about that then and
9 that was it.
10 Q Okay. But you didn't receive no calls or
11 anything saying that David had any contact with
12 Ms. Dewey in 2015 besides -- I mean, after the TPO was
13 went in place, there was nothing saying that David got
14 in contact with Ms. Dewey at all?
15 A Not that I recall, no.
16 Q Okay. In March of 2016, the TPO expires,
17 correct?
18 A I believe it did.
19 Q Okay. Once it expired, are you aware that
20 David started contacting the administrators at the
21 school?
22 A I don't know. If he did, I wasn't privy to
23 it. I don't know. He could have. I just don't know.
24 Q That's fair. And so you are unware at all
25 of him contacting them trying to get his school

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1 Q From your perspective, what happened that
2 day?
3 A Well, I was off campus. I don't recall the
4 reason why. So I wasn't on campus, and I believe I
5 received a phone call from either Officer Gammon, who
6 was the officer on campus at that time, or someone at
7 the school, maybe the school security officer. I
8 don't recall which, but I was notified that there was
9 an issue with a trespasser on campus. So I was headed
10 back to the school and was in communication, I

11 believe, on the school's radio with Officer Gammon

12 because he was there on scene. Again, just notified
13 that there had been a trespasser on campus who ran

14 from the school security officer.

15 He was caught in the teacher's parking lot
16 in the rear of the school near the trailers. And so
17 there was a search on for him. And he was located at
18 a subdivision street off of Dogwood Road just down the
19 road from Brookwood High School.

20 Q Okay. And what -- when you arrived on

21 scene, was it at the school or was it when they were
22 in the neighborhood?

23 A When they were in the neighborhood. I met
24 Officer Gammon where he was with David.

25 Q Okay. So at the time when you arrived on

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1 scene, you didn't know where David had been on the
2 campus at that time. You just knew that he had been
3 on campus, but not necessarily where?
4 A Correct.
5 Q All right. Subsequently, you learn that
6 information after David had already been arrested,
7 correct?

8 A No. I believe I -- well, honestly, I don't
9 know when I learned exactly where it was or where he
10 was originally located. If it was where officer -- if

11 Officer Gammon told me once I arrived or I got the

12 full story after he was placed under arrest. I don't
13 recall that part of it.

14 Q Okay. So once you arrived on scene, tell me
15 what happens when you arrive on scene in the

16 neighborhood.

17 A Officer Gammon was interviewing David and I
18 just stood back and because he was handling the

19 gituation at that time. And he was just speaking with
20 David and actually allowed David to use Officer

21 Gammon's personal cell phone to call his attorneys.

22 And the reason he was doing that because Officer

23 Gammon asked him numerous times to identify himself,
24 explain what he was doing on campus, and it was also
25 obvious to any reasonable person that David was

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1 wearing a disguise.
2 So he created such alarm that, you know,
3 when he went to the local CVS to purchase everything
4A that he needed for his disguise, he alarmed a clerk
5 there and she called 911 and just to report, you know,
6 how alarming his behavior was and wanted officers in
7 the area to be aware. And also his behavior in his
8 disguise was so alarming to a parent who just happened
9 to be walking down the sidewalk, that she also called
10 911.
11 So we had two separate 911 calls from two
12 separate citizens calling the Gwinnett County police
13 that we didn't know about because the Gwinnett County
14 police and our department operate on two different
15 channels. So they were looking for David at the same
16 time we were looking for David. And so I arrived and
17 was just assisting Officer Gammon and listening to the
18 conversation.
19 And Officer Gammon was giving David every
20 opportunity to identify himself and explain why he was
21 on campus, why he ran, why he was found where he was.
22 And even, again, to the point of letting David use his
23 personal cell phone to call his attorney so that David
24 could get legal advice before even speaking to us. So
25 Officer Gammon went above and beyond at that point.

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1 And so, again, I just stood back and was

2 just listening to the conversation. And at some

3 point, several Gwinnett County police officers arrived
4 at that's when we realized that other people had

5 called 911 due to David's behavior.

6 Q And so the thing that he had on, was it like
7 a costume beard?

8 A Yes. It was a beard. He had a ball cap on.
9 I believe sunglasses, I'm not, maybe, maybe not
10 sunglasses. He had a Brookwood shirt on. He was

11 wearing latex gloves, so it -- but if you just saw him
12 or the pictures that were taken of him that day, I

13 think, you know, people would agree it was pretty

14 alarming.

15 Q So baseball cap, sunglasses, a costume

16 beard, and latex gloves.

17 A Don't quote me on the sunglasses. I'm

18 trying to remember if he had that, but the rest, yes.
19 Q All right. And the costume beard was like
20 an orange beard that you wear, like, Halloween?

21 A It was more of, like, I think a brownish

22 type beard. And yes, it was -- it was one that you
23. would wear for Halloween and one that when you saw it,

24 you knew it was obviously fake.

25 Q Okay. At any event, there was a decision
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1 that was made out there to arrest David; is that

2 correct?

3 A Correct. Yes, sir.

4 Q Were you the person that made that decision?
5 A Yes, sir, I was.

6 Q And what was your basis for making that

7 decision at that time?

8 A Well, I knew that Officer Gammon had been

9 talking to David for some time and, again, I stood

10 back and let that conversation happen. And, you know,
11 just based on my years of experience, at that time

12 which were close to 30 years in law enforcement which
13 were, you know, a lot more than Officer Gammon's.

14 Again, I just stood back and listened to the

15 conversation, but it was very apparent that he was not
16 going to identify himself. He was not going to tell
17 us his name. It was not going to tell us his reason
18 for being on campus. He was not going to remove the
19 disguise.

20 And so I let the conversation between David
21 and Officer Gammon go on for a while. And again,

22 David is on Officer Gammon's phone speaking with his
23 legal counsel. And then the Gwinnett County police
24 arrived. They begin questioning, you know, what's

25 your name, you know, and he refused to answer any

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1 questions. You know, that those officers were asking.

2 So we just really reached an impasse and a decision

3 had to be made which way we were going to go with this
4 because, obviously, in that type of situation where

5 he's trespassing on campus, we can't just allow him to
6 okay, you can go now because you're not going to tell
7 us your name, you're free to go.

8 So at that point we had enough probable

9 cause to go ahead and affect an arrest for criminal
10 trespass. So I told Officer Gammon that I was going
11 to basically step in and I said I'm going to go ahead
12 and arrest him for criminal trespass because it was
13 obvious he was not going to answer any of our

14 questions or identify himself.
15 Q Okay. And at the time you made that

16 assessment, that was before you even knew who the
17 person was at that time?

18 A That is correct.

19 Q All right. And so after you make the
20 decision to arrest him, you arrest him, what happens
21 next?
22 A Once we arrest him, obviously, we're trying
23 to find out who he is. So once he's placed under
24 arrest and told that he's under arrest for criminal

25 trespass, we remove the disguise. And even after the

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1 disguise was off, I didn't -- it still didn't register
2 with me who he was because, again, I didn't have any
3 personal animosity towards David. I didn't know who
4 he was. It's not like I was following him all the
5 time or keeping up with him in school even after the
6 incident with Ms. Dewey.
7 So even once a disguise was removed, I had
8 no idea who he was until we got his wallet out and got
9 his ID and I saw his name and I said, Oh, then it
10 jogged my memory and I said I know who he is. There
11 was an issue between him and a teacher at the school.
12 And so that's when things just started to fall into
13 place.
14 Q And once you saw the ID and saw his name,
15 then you draw the conclusion at that moment that he
16 was there stalking Ms. Dewey?
17 A Not at that moment, but things started,
18 certainly started to make more sense about the
19 disguise, where he was located, which was in close
20 proximity to her car, and where her trailer was. So
21 all of that started to fall into place and make more
22 sense as we began to talk about what had occurred,
23 what had happened, where he was found, where he was
24 running from. So the stalking part of it again just
25 came as we began to talk about the situation and what

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1 (Plaintiff's Exhibit No. 5 was marked for
2 identification.)

3 BY MR. WINFREY:

4 Q Officer Williamson, I'd like to draw your
5 attention to the day of February 6 of 2017?

6 A Okay.

7 Q Do you recall that day?

8 A Yes, sir.

9 Q What happened that day?

10 A Well, late in the afternoon, Ms. Dewey

11 received this e-mail and came and was looking for me,
12 I guess, as soon as she received the e-mail. And I

13 was out in front of the school in my car getting ready
14 to direct traffic. So she just came banging on my

15 window frantic and I had to let the buses out, so I

16 told her, and plus it was February, so I said, well,
17 just wait in my car for a minute and let me get the

18 buses out and then, you know, we can discuss whatever
19 it is that's going on.

20 So once I got the buses out, you know, she
21 showed me the e-mail and I read it and my first

22 instinct and what I did was to -- because this was a
23 continuing case from the Solicitor's office, my first
24 thing that I did was call the Solicitor's and let them

25 know, and my supervision, let them know what was going

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1 well, correct?

2 A I'm sorry, what?

3 Q It talks about small claim cases as well?

4 A Yes.

5 Q To the term "defendants, respondents" is not
6 limited to someone that was in a criminal setting in

7 that e-mail, correct?

8 A Well, if you're a defendant, I mean, that

9 could go either way, really. But a defendant
10 typically in my mind would be more geared towards a
11 criminal case.
12 Q Are you aware that there are people that
13 refer to defendant in civil cases as well?

14 A Sure, absolutely.
15 Q Okay. And my only point in saying that, the
16 word "defendant or respondent" in this particular
17 e-mail is broad and covers both criminal and civil

18 people as it relates to --

19 A Yeah, that's correct. I understand. And,
20 you know, just to shed some light on that, too, Ms.
21 Dewey said immediately she had no pending court

22 actions. The only court action that she had was the
23 ongoing legal action she had with David Warth. There
24 was no civil, no other criminal. There was nothing
25 going on according to her.

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1 Q All right. The e-mail also says to dismiss

2 all small claim suits; isn't that correct?

3 A I believe it did.

4 Q But there were no small claim suits that

5 Ms. Dewey had pending?

6 A According to Ms. Dewey, no.

7 Q It also says, dismiss any divorce

8 proceedings also, doesn't it?

9 A Correct.

10 Q And Ms. Dewey didn't have any divorce

11 proceedings either?

12 A No. The only legal action that she had at

13 that time that was of any consequence was the legal

14 action regarding David Warth.

15 Q The e-mail goes further and says, for any

16 divorce case, in parentheses, the respondent no longer

17 lives near you. That's on page 5; isn't that correct?

18 A I'd have to go back and look.

19 Q Okay.

20 A Okay. I'm sorry, where on page 5?

21 Q Let me see if I can find the exact spot. So

22 page 5 about midway down the page.

23 A Okay.

24 Q There's a paragraph that has a hyphen in

25 front of it. It says, your lawyer. And a few lines

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1 learned that David was still at Emory, correct?
2 A Yes, I think that's what she told me.
3 Q And you learned that David was not driving?
4 A According to her, yes, but I think there was

5 some question about that later on about whether he was

6 really driving or not or had a car or not.

7 Q During your investigation, you never

8 discovered that David had a car, did you?

9 A No, not that I recall, but I don't know that
10 that was something we really were, you know, pursuing.
11 Q And going back to September 16th when you
12 searched him and found his ID, what you found was a
13 state ID. You didn't find a driver's license?

14 A That I don't know. I can't say to that. I
15 would -- he had an ID on him. I don't know if it was
16 a driver's license or a state ID. I don't recall. He
17 had an ID, so it could have been a driver's license.
18 I just don't know.

19 Q Fair enough. February 9th is the bond

20 revocation hearing, correct?

21 A Yes, sir.

22 Q All right. And David takes an offer plea

23 that day, correct?

24 A Yes, he did. And at that hearing and during

25 that plea, David also handed his personal cell phone

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1 A It's a full page of typing.

2 Q Read the sentence to me again, so I know

3 what sentence I'm looking for.

4 A Again, it's the very last sentence at the

5 bottom of the page. It says after several

6 consultations with Captain Bill, and that's where it

7 goes to the next page.

8 Q Okay. Hold on a second. Yes, I'm looking

9 at it. Yes.
10 A Okay. Then that continues on to the next

11 page. So after several consultations with Captain

12 Bill Wellmaker, investigators with the Gwinnett County
13 District Attorney's Office, and the prosecutors from
14 the Solicitors office, the decision was made to obtain
15 search warrants for David Warth's dorm room at Emory
16 University as well as his parents house located at 951
17 Bonaventure Way in Lawrenceville.

18 So just what I would like to put out there
19 for the record, because I've heard a lot of talk about
20 conspiracy, is that just to make note that this was
21 not me operating in a vacuum. So the decision for the
22 source warrants as you can see was multiple and

23 involving the Solicitors office, the District
24 Attorney's office, my supervision, so they are the
25 ones that said we need to do the search warrants.

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1 sure where you are.

2 A The first sentence of the page 18 that I

3 have, that's where it says, Wellmaker, Investigators

4 with the Gwinnett County District Attorney's Office.

5 Q I'm with you.

6 A Okay. So at the bottom of that one, it goes
7 into -- at the bottom of that page and continuing on

8 the next page, the items that were seized from David's
9 dorm room. Investigator Refor located a green 32 gig
10 thumb drive on a countertop in the room. I located an
11 iPod and index cards along with other writings. On
12 one index card, David had written, quote, How to

13 download a TOR, which is something used by people

14 using the dark web when they want to be anonymous and
15 send anonymous e-mails. A TOR browser was used to

16 send the e-mails to Ms. Dewey.

17 On another index card, David had written

18 DuckDuckGo, which is a search engine that people use
19 when they don't want to be tracked. Let's see. I
20 also located what appeared to be a brand-new TracFone
a1 box which is used or that's basically an untraceable
22 phone or more commonly known as a burner phone.

23 So there was an empty box for a cell phone,
24 a TracFone box that was recovered. The box was empty,
25 the phone was nowhere to be found. And I believe

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1 there was another index card in there and it had some

2 writings on it about things that -- punishment and

3 some other things like that. I don't -- I would have
4 to look at the index card specifically to remember

5 what he had written on there. But the thing that

6 caught my mind, my eye the most among the other things
7 was that empty TracFone box. Which, you know, again,
8 it's quote/unquote a burner phone that could be used

9 to send e-mails or just be anonymous. You could do
10 things on that phone anonymously.

11 And, of course, the TOR browser, how to
12 download a TOR browser, which again, is for surfacing
13 the dark web and things like that, being anonymous.
14 Q So we talked a lot today or I've heard a lot

15 today about TOR. Do you know what TOR stands for?

16 A I couldn't tell you at this point. I did
17 then.
18 Q Okay. I will state that TOR stands for the

19 onion router. Are you familiar with that?

20 A Right. Yes.

21 Q It's a -- it's a company that protects

22 people's privacy, correct?

23 A Yeah, I believe it does, yes.

24 Q Because you thought that e-mail came through

25 the onion router, did you ever contact them to verify

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1 or not. I know it's a search engine, but I don't know

2 if they, you know, offer e-mails, too.
Q DuckDuckGo is a search engine, correct, as

3
4 far as you know?

5 A Yeah, uh-huh.

6 Q Now, when you searched or when the other

7 officers searched the Warth's home, they didn't find
8 anything there to connect David to this e-mail; isn't
9 that correct?

10 A They -- they seized quite a few electronics,

11 that -- items that, you know, were listed and that

12 were reviewed by the forensics investigators. They
13 did not find anything on those electronic items, but
14 we never found the TracFone, David's cell phone, or
15 his laptop. Those still remain missing to my

16 knowledge.

17 Q So the answer is yes, they didn't find

18 anything at the house to connect the e-mail to David;

19 is that correct?

20 MR. PEREIRA: Object to form. You can

21 answer the question.

22 A They did not find anything on the items that
23 were seized, but we never found items we -- other

24 items we were looking for.

25 BY MR. WINFREY:

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1 because the arrest warrant for David wasn't obtained
2 until, I believe, March 17th. So the investigation
3 continued. There were also two meetings during that
4 time, you know, that we had served the search
5 warrants, we had gone over all the evidence, possibly
6 returned all the electronics to the Warth family, and
7 again, during the second search warrant of the Warth's
8 home, we were specifically looking for his laptop and
9 his cell phone that were never recovered.
10 So we continued the investigation. And
11 again, there were two specific meetings involving my
12 supervision, Lieutenant Randy Holloway, the Assistant
13 Chief Bill Wellmaker, the prosecutor in the case,
14 Investigator Flynn with the DA's office also, the
15 computer forensics people, to basically say where are
16 we with the case. What do we have. What evidence
17 have we recovered. What are we still looking for.
18 And what we came up with, you now, after a long period
19 of time and plus there was a -- excuse me, actually,
20 there were five search warrants because one that I
21 served at the psychotherapy office where David went.
22 So all of that evidence was reviewed by
23 multiple people. And so the decision was made at some
24 point it March, you know, okay, we have enough
25 evidence. The prosecution said this is a strong case

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1 based on everything we see here. We feel confident
2 going forward with this case. There's no problem with
3 it. So that's when I was advised, go ahead, get the
4 warrant for terroristic threats and that's what I did
5 in late March or shortly after mid March.
6 Q Okay. So according to your police report,
7 the search of the dorm room, both searches of the
8 house, all the searches of the computers, and the
9 search of the IT records at Emory, all of that was
10 concluded in between February the 9th and February
11 21st according to your police report?
12 A Right.
13 Q Other than the therapy records that you say
14 you received and I don't know the date that you got
15 the therapy records. Other than that, what other --
16 what other investigative work was done after the
17 21st of February 2017?
18 A Well, I mean I can speak to what I did. I
19 don't know what the prosecutors were doing. I don't
20 know what the DA's investigators were doing. But I
21 was looking at all the evidence, you know, that we had
22 collected. We were still looking for the missing
23 laptop, the missing cell phone, the TracFone, so there
24 was two cell phones we were still looking for. And
25 the search for the medical records or the search

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1 A I don't think there wag any correlation to
2 when David was going to be released. Again, I had no
3 idea about, I guess, the two-for-one or whatever.
4 There was never any thought about that.
5 Q And, in fact, David was scheduled to be
6 released from jail on or about March 25th of 2017;
7 isn't that correct?
8 A Again, sir, I don't know. I have no idea
9 about that part of it because that played no factor in
10 my decision or the District Attorney's decision to get
11 this warrant and when he was going to be released or
12 not released. Even had he been released, we still
13 would have pursued this.
14 Q And other than the therapist's records,
15 there was no other evidence that was gathered after
16 the 21st of February 2017?
17 MR. PEREIRA: Objection to form. Asked and
18 answered. You can answer if you know.
19 A I just -- I don't want to say, yes or no on
20 that, I would just have to consult, you know, the
21 reports and stuff to confirm that.
22 BY MR. WINFREY:
23 Q Okay. Now, your affidavit for arrest
24 alleges that Brittney Dewey was contacted by David
25 Warth, it says that she was followed, place under

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1 surveillance, and contacted on February the 6th and
2 February 7th at two locations; is that correct?
3 A Let's see. It has two locations listed
4 based on the text of the e-mail.
5 Q Okay. So the information that you put in
6 this warrant was based solely on the information that
7 was inside of the e-mail; is that what you're saying?
8 A Yes, sir, that is correct.
9 Q Okay. And as of February 21st, 2017, you
10 had nothing to directly link David to the e-mail?
11 A Not in the evidence that we could find, but,
12 again, we were missing his laptop and two cell phones.
13 Q All right. So the warrant reads in part,
14 Against Brittney Dewey and the laws of the State of
15 Georgia. The facts of this affidavit for arrest were
16 based on: Said accused did in violation of condition
17 of pretrial release, a copy of which is not attached.
18 Which prohibits certain behavior, did follow, place
19 under surveillance, and contact the victim, I'm
20 skipping to Brookwood High School, the Walmart
21 shopping center located at 4375 Lawrenceville Highway,
22 Tucker, Georgia 30084 in DeKalb County; did I read
23 that correctly?
24 A Yes, you did.
25 Q All right. That Walmart location, that

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1 further questions.

2 MR. PEREIRA: I have a few questions.

3 DIRECT EXAMINATION

4 BY MR. PEREIRA:

5 Q Officer Williamson, you testified that you

6 provided testimony to the magistrate court judge with

7 regard to the March 2017 arrest warrant; is that

8 correct?

9 A Yes, that correct.

10 Q And do you recall the testimony that you

11 provided to the judge on that day?

12 A Yes, I do.

13 Q Okay. And did you explain to the judge that
14 the basis of the arrest warrant dealt with a

15 threatening e-mail?

16 A Yes, I did.

17 Q Okay. Did you describe to the judge the

18 history with regard to David Warth and Brittney Dewey
19 who received that e-mail?

20 A Yes, I did.

21 Q And did that testimony include the

22 information about the threats made that were

23 transmitted from his therapist to the school?

24 A Yes, it did.

25 Q And did that information also include the
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1 information that you had regarding David Warth's

2 trespassing at Brookwood High School wearing costume?
3 A Yes, it did.

4 Q Did you also include in your testimony to

5 the magistrate court information about the TOR

6 browser?

7 A Yes, I did.

8 Q Okay. Can you tell us what did you tell the
9 judge you remember about how the TOR browser could

10 have been involved in this case.

11 A Just basically what we talked about here

12 today is that a TOR browser is something that people
13 use with the dark web if they're trying to remain

14 anonymous and so they can do things or send things

15 such as e-mails and they can remain anonymous. So

16 just explaining to the judge, you know, that the

17 sender of this e-mail used a TOR browser through the
18 TOR service as it is to send this e-mail so they can
19 remain anonymous and the e-mail couldn't be tracked.
20 And if you try to track it it would show that it just
21 kind of came from different parts of the world.

22 Q Now, did the search warrant also get served
23 on the IT Department at Emory University?

24 A Yes, sir, it did.
25 Q And is it the case that they were not able

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1 to show that David Warth used the TOR on the date
2 alleged?
3 A They were -- they showed that David was not
4 using the TOR on the date that the e-mail was sent,
5 but they did show leading up to that, David was using
6 a TOR browser in his dorm room prior to the date that
7 the e-mail was sent. So it was confirmed that he was
8 using a TOR browser in his dorm room.
9 Q But if he wasn't using a TOR the date that
10 the e-mail was sent, isn't that dispositive of the
11 fact that he didn't send the e-mail?
12 A No, because the working theory and what the
13 prosecutors with the District Attorney's office even
14 told his attorneys at that time when they brought up
15 the game argument was that they believe David and
16 David has been, so many people will tell you that
17. David is brilliant, David is very smart. And so they
18 also, you know, told his attorneys at that time that
19 their theory is that David was smart enough not to
20 send that e-mail on the day that Ms. Dewey received or
21 the next day. That he typed up the e-mail and then
22 set it to be sent on those days when he would not be
23 present or using the Internet in his dorm room. So
24 that's what the prosecutors believe that he did.
25 Q Did you explain that to the magistrate judge

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1 A Well, I think just to my knowledge of the

2 relationship between David and Ms. Dewey and the

3 ongoing issues, you know, between David and Ms. Dewey
4 the temporary protective orders, the arrest of David

5 from, you know, back in September of 2016, I believe

6 it was, where he came on campus, you know, in the

7 disguise in which, you know, he was charged with

8 Stalking. And we believed at that point that he was,
9 you know, coming to do harm to Ms. Dewey.

10 So I think with all of that evidence and the
11 history and the history with David and Ms. Dewey and
12 the principal even before I even got involved, there
13 was a long trail there of a lot of evidence or a lot
14 of history. So I think any reasonable person, you

15 know, the first thought that would come to their mind,
16 you know, when that e-mail is received, is that where
17 there's probably only one person or is one person that

18 is responsible for that e-mail being sent.

19 Q Going back to the September 2016 arrest.
20 A Yes, sir.
21 Q The areas that you -- when you reviewed the

22 video, the areas David Warth was seen in, are those

23 near the front of the school?

24 A No, quite the opposite.
25 Q If you were going to be going to the office
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